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                                                                              9


                                                                                           Apr 30, 2018

                               U NITED STA TE S D ISTR ICT C O UR T
                               SOU TH ER N DISTR ICT O F FLO R ID A
                18-20349-CR-ALTONAGA/GOODMAN
                                CA SE N O .
                                             18U.S.C.j1341
                                             18U.S.C.j981(a)(1)(C)
    UN ITED STA TES O F A M ER ICA

    VS.

    ALBER TO R O D R IG UEZ ,

           D efendant.
                                         /

                                             IN FO RM ATIO N

           The U nited StatesA ttorney chargesthat:

                                    G EN ER AL A LLEG A TIO N S

           A ta1ltim esrelevantto this Inform ation:

                         FederalT obacco Excise T ax and Custom sBrokers

                  The Alcohol and Tobacco Tax and Trade Bureau (çtTTB'') administered and
    enforced Federalstatutes and TTB regulations pertaining to,in part,tobacco products im ported

    into the U nited Statesfrom a foreign country.

                  Tobacco products included E<cigars,''w hich w ere defined as <<any roll of tobacco

    w rapped in leaf tobacco or in any substance c'
                                                  ontaining tobacco.''26 U.S.C.j 5702(a)and (c).

    dtargecigars''werecigarsweighingmorethanthreepotmdsperonethousandcigars.26U.S.C.j
.
    57O1(a)(2).
                  A person or entity w ho im ported tobacco products into the United States 'was

    required to p'ay excise tax (fTederalTobacco Excise Tax'')to the United States.26 U.S.C.j
                                                                  7
    5703(a)(1).
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               FederalTobacco Excise Tax on imported large cigarswasdetermined atthe tim e

 the cigars w ere rem oved by the im porter, or its designee,f'
                                                              rom the custody of United States

 Customsand BorderProtection (1:CBP'').'
                                       26 U.S.C.j 57031)(1).Theimporteroritsdesignee
 wasrequiredtopayFederalTobaccoExciseTaxdirectlytoCBP.27C.F.R.j41.62.
               Tobacco im portersoften designated custom sbrokersto facilitate theim portation of

 tobacco products into the U nited States.A custom s broker w as a person w ho w as licensed to

 transact custom s business, including, in part, the paym e'nt of duties, taxes, or other charges

 assessed orcollectedby CBP on m erchandisebyreason ofitsimportation,onbehalfofothers.19

 C.F.R j111.1.
               FederalTobacco Excise Tax properly due and ow ing on im ported large cigarsw as

 calculated based on a statutorily m andated percentage ofthe price forwhich the cigars w ere to be

 soldbytheimporter(theKfrstsaleprice'').26U.S.C.j5701(a)(2);27C.F.R.j41.39.
               The FederalTobacco Excise Tax rate forlarge cigarsw as 52.75 percentofthe flrst

 saleprice,butnotmorethan40.26centspercigar.26U.S.C.j5701(a)(2).
        8.     Under Federal law , custom s brokers w ere required to keep current in a correct,

 orderly,and item ized m arm er,records of accountreflecting a11 their financialtransactions as a

 broker.Custom sbrokers were ftzrther required to keep and m aiptain on file copies of a11their

 correspondenceandotherrecordsrelatingtotheircustomsbusiness.19C.F.R j111.21.
        9.     Proper and truthfulrecordkeeping and docum entation asm andated by.Federallaw

 and regulations w as essential to enable CBP to perform its function w ith respect to collecting

 FederalTobacco Excise Tax properly due and ow ing.
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                                         M AIL FR AU D
                                        (18U.S.C.j1341)
        From in oraround July 2013,tllrough in or around July 2016,.in M iam i-D ade Colm ty,in

 the Southern DistrictofFlorida,and elsew here,the defendant,

                                   AT,BERTO RODRIGUEA
 did knowingly,and with intentto defraud,devise and intend to devise a schem e and artifke to'

 defraud and to obtain m oney and property by m eans ofm aterially false and fraudulentpretenses,

 representations,and prom ises,know ing that the pretenses,representations, and prom ises w ere

 false and fraudulentwhen m ade,and forthe purpose of executing such schelhe and artifice,and

 attem pting to do so,did know ingly cause to be delivered certain m ailm atterby the United States

 PostalService,according to the directions thereon,in violation of Title 18,U nited States Code,

 Section 1341.

                        PU R PO SE O F TTTE SCH EM E AN D A R TIFIC E
                        ;'

        10. Itwasthepurposçoftheschemeandartificeforthedefendanttotmlawfzllyendch
 M m self by m aking m aterially false and g audulent representations, and by the concealm ent of

 m atedalfacts,concem ing,am ong otherthings,the FederalTobacco Excise Tax properly due and

 ow ing on large cigarsim ported by the defendant'sclients.

                                TH E SCH EM E AN D M W IFICE

        11.    A tleastas early as July 2013-
                                            ,AT,BER TO R OD R IG UE Z operated as a custom s

 brokerin the State ofN ew York.

                 Im porter 1 and Im porter 2 w ere im porters of tobacco products, including large

 cigars,and w ere responsible for paying FederalTobacco Excise Tax properly due and ow ing on

 im ported large cigars.
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                To facilitate the importation oflargecigars'
                                                           ,Importer 1and lm porter2 contracted

 with AT,BERT O R O DW G UEZ to oversee the entry into the U rlited Statesoflarge cigarsand to

 pay any FederalTobacco Excise Tax due and owing thereon.

         14.     AI,BER TO R O D RIG U EZ created false and fraudulent docum ents, including

 CBP Fonus 7501 (ççEntry Sllmmaties''),which misrepresented,among other things,(a) the
 quantitiesoflargecigarsimportedintotheUnitedStatesbyImporter1andImporter2and(b)the
 FederalTobacco Excise Tàx due and ow ing thereon.

         15.     AT,BER TO R O DR IG UEZ consistently underreported and evaded the Federal

 Tobacco Excise Tax properly due and ow ing to CBP on large cigars im ported into the United

 Statesby Im porter 1 and Im porter2,by transm itting to CBP false and fraudulentdocum ents,via

 United States PostalService m ailand otherm eans.

                To protk 9om the schem e,A LBER TO R O DR IG UE Z sentinvoices to Im porter

  1 and Im porter2 reflecting the tnle quantitiesofim ported large cigars and the properly calculated

 FederalTobacco Excise Tax due and ow ing thereon.

         17. As éresult,Importer 1 and lmporter2 paid to AT,BERTO.RODRIYUEZ the
 FederalTobacco Excise Tax properly due and owing on large cigarsim ported by Im porter 1 and

 Importer2,whichwasin excessoftheamountRODRIGUEZ paidtoCBP.
         18.    To concealthe schem e,AI,BER TO RO DR IG UE Z altered docum ents,including

 im porter invoices and bank records,and provided these altered docllm ents to TTB agents and

 employees,a11 for tie purpose of misleading TTB and pretending that RODRIGUEZ had
 correctly calculated and paid to CBP the FederalTobacco Excise Tax properly due and owing on

 large cigarsim ported by Im porter 1 and Im porter 2.
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         19.   ln total, AL BE RT O R O DR IG UE Z evaded paying CBP approxim ately

 $503,681.15 forFederalTobacco ExciseTax dueand owing on large cigarsimported by lmporter
  1 and Im porter2.

                                     USE O F TH E M M L S

        20.    On or about April 21,2016,the defendant,for the purpose of executing and in

 furtheranceoftheaforesaib schemeandartificetodefraudandto obtainmoney andpropertyby
 m eans ofm aterially false and fraudulentpretenses,representations,and prom ises,and attem pting

 to do so,clid knowingly cause to be delivered,directly and indirectly,by the U nited StatesPostal

 Serdce,according to the directionsthereon,oneparcelcontaining false and fraudulentCBP D aily

 Statem entReportsforEntry N um ber FE7-0007303-7,m ailed from N ew Y ork,to CBP in M iam i,

 Flodda.

        In violation ofTitle 18,United StatesCode,Sections 1341 and 2.

                                         FO RFEITU RE
                                   (18tJ-s-c.j981(a)(1)(C))
               The allegations in this Inform ation are re-alleged and by this reference fully

 incorporated herein forthe purpose of alleging forfeiture to the United Statesof certain property

 in which the defendant,A LBER TO R O D RIG U EZ,has an interest.

               Upon conviction ofaviolation ofTitle 18,United States Code,Section 1341,as

 alleged in this Inform ation,the defendantshallforfeitto the United States,pursuantto Title 18,

 Uited StatesCode,Section 981(a)(1)(C),anyproperty,realorpersonal,wllich constitutesoris
 detived f'
          rom proceedstraceable to such violations. This includes,butisnotlim ited to,a sum of

 m oney equalin value to the ggossproceeds traceable to the com m ission ofthe offense alleged in

 this lnfonnation,approxim ately $503,681.15,which the United States will seek as a m oney

 judgmentaspartofthedefendant'ssentence.
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        A11pursuanttoTitle18,United StatesCode,Section 981(a)(1)(C),andtheproceduresset
 forth in Title 21,U nited States Code,Section 853,a11of which are m ade applicable by Title 28,

 UrlitedStatesCode,Section 2461(c).



                                               N         .      E BER G
                                                     STA T       TORN EY


                                            CH RISTOPHER B.BROW N E
                                            A SSISTAN T U N ITED STA TES A TTORN EY
     Case 1:18-cr-20349-CMA Document
                                UNITED1STATES
                                         Entered   on
                                              DISTRI   FLSD
                                                    CT CO URT Docket 04/30/2018 Page 7 of 9
                                               SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OFAM ERICA                            CASE NO.
VS.
                                                    CERTIFICATE O F TRIAL ATTO RNEY*
ALBERTO RODRIGUEZ,
                          Defendant.
                                           /        Superseding Caselnform ation;

CourtDivision:(sel
                 ictone)                            New Defendantts)                   Yes          No
                                                    Num berofNew Defendants
 X       M iam i            Key W est               Totalnum berofcounts
         FTL                W PB           FTP
         Ido hereby cerlify that:
                   Ihave carefull
                                y considered the allegationsofthe indictm ent,the num ber ofdefendants,the num berof
                   probablewitnessesandtheIegalcomplexi
                                                      tiesoftheIndictment/lnformationattachedhereto.
                   Iam aw arethatthe inform ationsupplied on thisstatementwillbe relied upon bytheJudgesofthisCourtin
                   settingtheircalendarsandschedulingcrim inaltrialsunderthem andateoftheSpeedyTrialAct,Title28U.S.C.
                   Section 3161.

                   lnterpreter: (YesorNo)             YES
                   ListIanguageand/ordialect         SPANISH
                   Thiscasew illtake 0     daysforthepartiestotry.
                   Pleasecheckappropriatecategoryandtypeofosense lîsted, below:
                   (Checkonl
                           yone)                                     (Checkonlyone)
                   0 to 5 days                        X                        Petty
                   6to10days                                                   M inor
                   11 to 20 days                                               M isdem .
                   21to 60 days                                                Felony        '- x
                   6ldays and over
         6.        Hasthiscasebeenpreviousl
                                          yfiledinthisDistrictCourt? (YesorNo)                 No
        Ifyes:                              '
        Judge:                                             Case No.
         (Attachcopyofdispositiveorder)                                                .
         Hasacomplaintbeenfiledinthismatter?               (YesorNo)              No
         Ifyes:
         M agistrate Case No.
         Related M iscellaneousnum bers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustodyasof
         Rule20from the                                     Districto                           .
         lsthisapotentialdeathpenaltycase?(YesorNo)            No
                   Doesthiscaseoriginatefrom am atterpendingin the Northern Region ofthe U.S.Attorney'sOffice priorto
                   October14,2003?               Yes       X     No

         8.        Doesthiscase ori
                                  ginate from a m atterpending in the CentralRegion ofthe U.S.Attorney'sOffice priorto
                   Septem ber1,2007?               Yes       X       o



                                                            CHRISTOPHER B.BROW NE
                                                            ASSISTANT UNITED STATES AU ORNEY
                                                            FLORIDA BAR NO.91337
*penal
     tySheetts)attached
                                                                                                           REV4/8/08
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                             U M TED STATE S D ISTRIC T C O U RT
                             SOU TH ERN D ISTR ICT O F FLO R ID A

                                      PEN A LTY SH EET

 D efendant'sN am e:A LBERTO ROD W GU EZ                   .
                                                                 '




 C ase N o:

 Count#:1

 M ailFraud

 Title 18.U nited States CodesSection 1341                                    '.
                                                                     1
                                                   .



 *M ax.Penalty:       Twenty(20)years'imprisonment
 Cotm t#:



              hi         '


 *M ax.Penalty:

 Cotm t#:




 *M ax.Penalty:

 Count#:




 *M ax.Penalty:                                                  .




  ARefersonly to possibleterm ofincarceration,doesnotihcludepossiblefines,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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AO 455m ev.01/09)Waiverofanlndictment

                                U NITED STATES D ISTRICT COURT
                                                     forthe
                                           Southern DistrictofFlorida

               United StatesofAm erica
                           V.                                CaseNo.
               ALBERTO RODRIGUEZ,

                        bepnaant

                                         W M VER OF AN INDICTM ENT

      ltmderstand that1have been accused ofone orm oreoffensesptmishableby im prisonm entformore th= one
year.1wasadvised in open courtofmy rightsandthenatureoftheproposed chargesagainstm e.
        Afterreceiving thisadvice,1waivemy righttoprosecution by indictmentand consenttoprosecution by
inform ation.



Date:
                                                                              Defendant'
                                                                                       sazyatzfllrc


                                                                         Signatureofdefendant'
                                                                                             stz//omc.p


                                                                        Printednameofdefendant'
                                                                                              sattorney


                                                                                Judge'ssfgnt
                                                                                           z/?zrc


                                                                          Judge'
                                                                               sprintednameand Jf//c
